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 9        IN THE UNITED STATES DISTRICT COURT
10      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                              Case No. CV 20-1309 CAS (MRW)
13    LEONARDO DIAZ,
14                     Petitioner,
                                              JUDGMENT
15                v.
16    JEFF LYNCH, WARDEN,
17                     Respondent.
18
19
20         Pursuant to the Order Accepting Findings and Recommendations of
21   the United States Magistrate Judge,
22         IT IS ADJUDGED that this action is dismissed without prejudice
23   due to lack of jurisdiction over a successive petition.
24
25   DATE: January 21, 2021                ___                      __
                                           HON. CHRISTINA A. SNYDER
26                                         SENIOR U.S. DISTRICT JUDGE
27
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